                      Case 1:15-cv-00120-JDB Document 13 Filed 05/19/15 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


                        Î¿µ»-¸ Õ«³¿®                           )
                             Plaintiff                         )
                                v.                             )      Case No.     ïæïëó½ªóððïîðóÖÜÞ
              Ù»±®¹» É¿-¸·²¹¬±² Ë²·ª»®-·¬§                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Ü»º»²¼¿²¬ Ù»±®¹» É¿-¸·²¹¬±² Ë²·ª»®-·¬§                                                                       .


Date:          ðëñïçñîðïë                                                                 ñ-ñ ß´»¨ Ûò Ø¿--·¼
                                                                                          Attorney’s signature


                                                                                 ß´»¨ Ûò Ø¿--·¼ øÜÝ Þ¿® Ò±ò çéçðîí÷
                                                                                      Printed name and bar number
                                                                                         Ü·½µ-¬»·² Í¸¿°·®±
                                                                                        ïèîë Û§» Í¬®»»¬ô ÒÉ
                                                                                       É¿-¸·²¹¬±²ô ÜÝ îðððê

                                                                                                Address

                                                                                   ¸¿--·¼¿à¼·½µ-¬»·²-¸¿°·®±ò½±³
                                                                                            E-mail address

                                                                                           øîðî÷ ìîðóíìïí
                                                                                           Telephone number

                                                                                           øîðî÷ ìîðóîîðï
                                                                                             FAX number
